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 8
                          UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                          Case No. 1:15-cr-00288-LJO-SKO

12                   Plaintiff,                         ORDER DENYING DEFENDANT’S
                                                        MOTION FOR BAIL REVIEW and
13           v.                                         ORDER DETAINING DEFENDANT AS A
                                                        FLIGHT RISK AND DANGER TO THE
14   FRANCISCA GUISAR TORRES,                           COMMUNITY

15                   Defendant**.                       (ECF No. 154)

16

17           On January 20, 2016, Defendant Francisca Guisar Torres filed a motion for bail review to

18 modify conditions of release. A hearing on Defendant’s motion was held January 25, 2016.

19 Defendant appeared in custody with counsel Albert Garcia and was assisted by a Spanish
20 language interpreter. Counsel Daniel Griffin appeared for the government. The hearing was

21 continued to January 26, 2016 for the Court to review transcripts.

22           On January 26, 2016, Defendant appeared in custody with counsel Albert Garcia and was

23 assisted by a Spanish language interpreter.          Counsel Kathy Servatius appeared for the

24 government. Having considered the moving papers and the arguments presented at the January

25 25, 2016 and January 26, 2015 hearings, the Court shall deny Defendant’s motion for bail

26 review.
27           For the reasons stated on the record, Defendant’s proposed new condition, along with the

28 additional conditions, do not ensure the Defendant’s appearance or the safety of the community.


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 1 Therefore, Defendant’s motion for bail review and release on conditions is DENIED.

 2          The Defendant is hereby DETAINED as a flight risk and danger to community based

 3 upon the nature and circumstance of the offense, the maximum penalty of up to life

 4 imprisonment if convicted, the defendant’s past criminal history, the fact that the defendant is a

 5 lawful permanent resident and if convicted could be deported, lack of steady employment and

 6 lack of adequate financial resources.

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     IT IS SO ORDERED.
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 9 Dated:     January 26, 2016
                                                        UNITED STATES MAGISTRATE JUDGE
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